

People v Brooks (2022 NY Slip Op 05293)





People v Brooks


2022 NY Slip Op 05293


Decided on September 27, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: September 27, 2022

Before: Webber, J.P., Kern, Singh, Moulton, Shulman, JJ. 


Ind. No. 2674/18 Appeal No. 16263 Case No. 2019-4257 

[*1]The People of the State of New York, Respondent, 
vMurry Brooks, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (IvÀn B. Pantoja of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Catherine Read of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, Bronx County (George R. Villegas, J.), rendered February 27, 2019,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: September 27, 2022
Counsel for appellant is referred to § 606.5, Rules of the Appellate Division, First Department.








